Case 4:22-cv-00768-ALM-CAN Document 15 Filed 01/20/23 Page 1 of 2 PageID #: 174




                          IN THE UNITED STATES DISTRICT COURT
                                ENORTHDISTRICT OF TEXAS
                                   SHERMAN DIVISION

      RICK GOBERT                                   )
                Plaintiff,                          )
                                                    )
                                                    )
                                                    )
                                                    )
                                                    )
                                                    )
      v.                                            )     Case No. 4:22-cv-00768-ALM-CAN
                                                    )
      GUILD MORTGAGE                                )
      COMPANY, LLC                                  )
                                                    )
                     Defendant.                     )
                                                    )
                                                    )
                                                    )

       AMENDED NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41
         Pursuant to F.R.C.P. 41 of the Federal Rules of Civil Procedure, the plaintiff(s) Rick Gobert
 and/or counsel(s), hereby give notice that the above-captioned action is voluntarily dismissed, with
 prejudice against the defendant(s) GUILD MORTGAGE COMPANY, LLC.
  Date: 1/20/2023


                                               Respectfully submitted,

                                               /s/ Robert C. Newark, III
                                               Robert C. Newark, III
                                               State Bar No. 24040097
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Case 4:22-cv-00768-ALM-CAN Document 15 Filed 01/20/23 Page 2 of 2 PageID #: 175




                                 CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the foregoing document was served on
  January 20, 2023, on the following via ECF pursuant to the Federal Rules of Civil Procedure.

 Valerie Henderson
 Kirsten Vesel




                                                            /s/ Robert C. Newark, III
                                                            Robert C. Newark, III
